Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 1 of 52 Page ID #:8




                              EXHIBIT “2”
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 2 of 52 Page ID #:9
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 3 of 52 Page ID #:10
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 4 of 52 Page ID #:11
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 5 of 52 Page ID #:12
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 6 of 52 Page ID #:13
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 7 of 52 Page ID #:14
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 8 of 52 Page ID #:15
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 9 of 52 Page ID #:16
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 10 of 52 Page ID #:17
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 11 of 52 Page ID #:18
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 12 of 52 Page ID #:19
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 13 of 52 Page ID #:20
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 14 of 52 Page ID #:21
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 15 of 52 Page ID #:22
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 16 of 52 Page ID #:23
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 17 of 52 Page ID #:24
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 18 of 52 Page ID #:25
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 19 of 52 Page ID #:26
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 20 of 52 Page ID #:27
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 21 of 52 Page ID #:28
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 22 of 52 Page ID #:29
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 23 of 52 Page ID #:30
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 24 of 52 Page ID #:31
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 25 of 52 Page ID #:32
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 26 of 52 Page ID #:33
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 27 of 52 Page ID #:34
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 28 of 52 Page ID #:35
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 29 of 52 Page ID #:36
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 30 of 52 Page ID #:37
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 31 of 52 Page ID #:38
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 32 of 52 Page ID #:39
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 33 of 52 Page ID #:40
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 34 of 52 Page ID #:41
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 35 of 52 Page ID #:42
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 36 of 52 Page ID #:43
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 37 of 52 Page ID #:44
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 38 of 52 Page ID #:45
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 39 of 52 Page ID #:46
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 40 of 52 Page ID #:47
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 41 of 52 Page ID #:48
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 42 of 52 Page ID #:49
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 43 of 52 Page ID #:50
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 44 of 52 Page ID #:51
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 45 of 52 Page ID #:52
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 46 of 52 Page ID #:53
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 47 of 52 Page ID #:54
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 48 of 52 Page ID #:55
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 49 of 52 Page ID #:56
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 50 of 52 Page ID #:57
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 51 of 52 Page ID #:58
Case 2:17-cv-08652-SJO-JC Document 1-2 Filed 11/30/17 Page 52 of 52 Page ID #:59
